                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
             v.                                 )      Criminal Action No.
                                                )      16-00150-06-CR-W-DGK
TRAVIS LEE BETHEL,                              )
                                                )
       Defendant.                               )

                           REPORT AND RECOMMENDATION
                        TO ACCEPT DEFENDANT=S GUILTY PLEA

       On August 11, 2017, I held a change-of-plea hearing in this case.            I find that

Defendant=s plea is voluntary and therefore recommend that it be accepted.

                                      I. BACKGROUND

       On November 17, 2016, Defendant was indicted with one count of conspiracy to

distribute methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A) and 846 and one

count of conspiracy to commit money laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i)

and (B)(i), (ii) and (h).   A change-of-plea hearing was held on August 11, 2017. Defendant

was present, represented by retained counsel Dan Viets. The government was represented by

Assistant United States Attorney Bruce Rhoades.     The proceeding was recorded and a transcript

of the hearing was filed on August 14, 2017 (Doc. No. 300).

                              II.   AUTHORITY OF THE COURT

       The authority of federal magistrate judges to conduct proceedings is created and defined

by the Magistrates Act, 28 U.S.C. § 636. Besides certain enumerated duties, the Act provides

that a Amagistrate may be assigned such additional duties as are not inconsistent with the

Constitution and the laws of the United States.@ 28 U.S.C. § 636(b)(3).




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        The Eighth Circuit, following the reasoning of several other circuits, has held that

magistrate judges may preside over allocutions and pleas in felony cases, so long as certain

procedural safeguards are met.    United States v. Torres, 258 F.3d 791, 795-96 (8th Cir. 2001);

see also United States v. Dees, 125 F.3d 261 (5th Cir. 1997), United States v. Williams, 23 F.3d

629 (2d Cir. 1994). The reasoning applied by the appellate courts relies upon previous opinions

by the United States Supreme Court that conducting jury voir dire falls within a magistrate

judge=s Aadditional duties@ when the defendant has consented.        See Torres, 258 F.3d at 795

(citing Peretz v. United States, 501 U.S. 923 (1991); Gomez v. United States, 490 U.S. 858

(1989)).

        In Peretz, the Supreme Court held that when a defendant consents to a magistrate judge=s

involvement in voir dire, he waives any objection based on his right to have an Article III judge

hear his felony case. 501 U.S. at 936. Moreover, the availability of de novo review by a

district judge preserves the structural guarantees of Article III.      Torres, 258 F.3d at 795.

Applying the Peretz holding and adopting the reasoning of Williams, the Eighth Circuit held that

the acceptance of guilty pleas bears adequate relationship to duties already assigned by the

Magistrates Act in that A[a]n allocution is an ordinary garden variety type of ministerial function

that magistrate judges commonly perform on a regular basis.@      Id. (quoting Williams, 23 F.3d at

633). Plea allocutions are substantially similar to evidentiary proceedings explicitly assigned

by the Act. Id. at 796 (citing Dees, 125 F.3d at 265). Even if taking a guilty plea were

considered to be of greater importance than those duties already assigned, the consent of the

defendant saves the delegation.    Id.   AConsent is the key.@   Id. (quoting Williams, 23 F.3d at

633).

        The Torres court also addressed the implications of such a delegation for Article III=s case

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and controversy clause.      Id.   Because plea proceedings are submitted to the district court for

approval, the court retains ultimate control over the proceedings and is not bound to accept a plea

taken by a magistrate judge.       Id. Moreover, the district court=s de novo review of the plea

proceedings contributes to the ministerial nature of the magistrate judge=s role.    Id.

        Based on the above, I find that, with the consent of the defendant, the District Court may

properly refer a felony case to a Magistrate Judge for conducting a change-of-plea hearing and

issuing a report and recommendation on whether the plea should be accepted.

                                     III.   FINDINGS OF FACT

        1.      The parties consented to the delegation of the change of plea to the magistrate

judge (Tr. at 4-5).

        2.      On November 7, 2016, Defendant was indicted with one count of conspiracy to

distribute methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A) and 846 and one

count of conspiracy to commit money laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i)

and (B)(i), (ii) and (h).   Defendant indicated that he understood (Tr. at 11-12).

        3.      The statutory penalty range with the § 851 enhancement for conspiracy to

distribute methamphetamine is not less than 20 years but not more than life imprisonment, not

more than a $20,000,000 fine, not less than 10 years supervised release, and an $100 mandatory

special assessment fee (Tr. at 8-9). The statutory penalty range for conspiracy to commit money

laundering is not more than 20 years imprisonment, not more than a $500,000 fine and not more

than 3 years supervised release (Tr. at 9-10). Defendant was informed of the penalty range and

indicated that he understood (Tr. at 12).

        4.      Defendant was advised of the following:

                a.      That he has a right to a trial by jury of at least 12 individuals and

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       that their verdict must be unanimous (Tr. at 12);

               b.        That he has the right to assistance of counsel throughout the trial

       (Tr. at 12-13);

               c.        That Defendant is presumed innocent, and the government has the

       burden of coming forward to prove Defendant=s guilt beyond a reasonable doubt

       (Tr. at 13);

               d.        That Defendant=s attorney would have the opportunity to cross-

       examine the government=s witnesses (Tr. at 12-13);

               e.        That Defendant has the right to testify but does not have to, and that

       the jury could not make an adverse inference from the fact that Defendant may not

       testify at trial (Tr. at 13);

               f.        That Defendant has the right to subpoena witnesses to testify on his

       behalf (Tr. at 13); and

               g.        That Defendant has the right to appeal any conviction to the Eighth Circuit

       Court of Appeals (Tr. at 14).

       5.      Government counsel stated that if this case were to be tried, the evidence would be

that Defendant obtained methamphetamine from co-defendant Nevatt and redistributed that

methamphetamine to a variety of people (Tr. at 16). The amount of that methamphetamine

exceeds 5 kilograms; the exact amount will be determined through the presentence report and

argument of parties at the sentencing hearing (Tr. at 16).            In the course of distributing

methamphetamine, Defendant also obtained proceeds and used those proceeds to obtain

additional amounts of methamphetamine with the intent to promote the carrying on of the

conspiracy, or used cash to conceal the unlawful activities in which they were involved and the

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nature and location of the drug proceeds (Tr. at 16).        If a conviction were obtained, the

government would then seek a money judgment based on the amount of methamphetamine

Defendant was found responsible for and associated street value (Tr. at 16-17).

        6.      Defendant was placed under oath and advised of perjury implications for any

misrepresentations (Tr. at 15, 17).      Defendant stated that between January 1, 2014 and

November 17, 2016, he was in Lebanon, Missouri, within the Western District of Missouri (Tr. at

17-18). He knew the following individuals in connection with the alleged drug dealing: Michael

Nevatt; Jerry Brown; Kara Baze; Jarub Baird; Breann Hall; and Autumn Provience (Tr. at 18).

Defendant and at least one of these individuals had an understanding that they would engage in

transactions involving 500 grams or more methamphetamine (Tr. at 18-19). Defendant knew it

was illegal, yet did so knowingly and voluntarily (Tr. at 19). During this same period of time,

Defendant also engaged in financial transactions to purchase and sell methamphetamine and then

to use the proceeds to buy more methamphetamine (Tr. at 20).       Defendant knew doing so was

unlawful, yet did so knowingly and intentionally (Tr. at 20-21).

        7.      Defendant understood the terms of the plea agreement (Tr. 22-27, 32-33).

        8.      No one had made any threats or any other promises in order to get Defendant to

plead guilty (Tr. at 28).

        9.      Defendant was satisfied with Mr. Viets’ performance (Tr. at 28-29).        There is

nothing Defendant asked Mr. Viets to do that Mr. Viets did not do (Tr. at 29).    Likewise, there is

nothing Mr. Viets has done that Defendant did not want him to do (Tr. at 29).

        10.     Defendant is 46 years old (Tr. at 29).   He has a GED and can read, write and

understand the English language well (Tr. at 29-30). Defendant has no physical or mental health

concerns that would prevent him from entering an intelligent and voluntary plea of guilty (Tr. at

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30). He was not under the influence of any kind of drug or alcohol (Tr. at 30).

       11.     Defendant tendered a plea of guilty to Counts One and Four of the Superseding

Indictment (Tr. at 31).

                             V. ELEMENTS OF THE OFFENSE

      To sustain a conviction for conspiracy to distribute methamphetamine, the Government

must prove: (1) there was an agreement to distribute a controlled substance; (2) the defendant

knew of the agreement; and (3) the defendant intentionally joined the conspiracy.        See United

States v. Savatdy, 452 F.3d 974, 977 (8th Cir. 2006); United States v. Shoffner, 71 F.3d 1429,

1433 (8th Cir. 1995).

      “[T]he ‘three essential elements’ of conspiracy to launder money are (1) ‘an agreement . . .

to launder money’; (2) the defendant’s voluntary joinder of the agreement; and (3) the defendant’s

knowing joinder of the agreement.”    United States v. Jarrett, 684 F.3d 800, 802 (8th Cir. 2012).

                                          V. CONCLUSION

       Based on the above, I make the following conclusions:

       1.      The district court may lawfully refer this case to a magistrate judge for issuance of

a report and recommendation on whether Defendant’s guilty plea should be accepted.

       2.      Defendant has consented to having his plea taken by a magistrate judge.

       3.      Defendant knowingly and voluntarily pleaded guilty to conduct establishing every

element of Counts One and Four of the Superseding Indictment.

       A copy of this Report & Recommendation, transcript and the plea agreement are being

forwarded to the District Judge for review.   It is, accordingly

       RECOMMENDED that the court, after making an independent review of the record and

the applicable law, enter an order accepting Defendant’s guilty plea and adjudging Defendant

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guilty.

          Counsel are advised that each has fourteen days from the date of this Report &

Recommendation to file and serve specific objections to the same, unless an extension of time for

good cause is obtained.




                                                       /s/ Robert E. Larsen
                                                   ROBERT E. LARSEN
                                                   United States Magistrate Judge

Kansas City, Missouri
August 15, 2017




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